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 8                            UNITED STATES DISTRICT COURT
 9                          CENTRAL DISTRICT OF CALIFORNIA
10
11    QIMING WANG,                                   Case No. 2:24-cv-3189-SPG-MAR
12                               Plaintiff,          ORDER DISMISSING PLAINTIFF’S
                   v.                                COMPLAINT AND DENYING
13                                                   PLAINTIFF’S MOTION FOR
      ALEJANDRO MAYORKAS, Secretary
14                                                   TEMPORARY RESTRAINING
      of Homeland Security; UR MENDOZA               ORDER AS MOOT [ECF No. 14]
15    JADDOU, Director of the United States
16    Bureau of Citizenship and Immigration
17    Services; and TRACY TARANGO,
      Director of the California Service Center,
18
      U.S. Citizenship and Immigration
19    Services,
20
                                 Defendants.
21
22          Before the Court is Plaintiff’s Motion for Temporary Restraining Order and
23    Preliminary Injunction (ECF No. 14 (“Motion”)).          Defendants Alejandro Mayorkas
24    (“Mayorkas”), sued in his official capacity as Secretary of the Department of Homeland
25    Security (“DHS”); Ur Mendoza Jaddou (“Jaddou”), sued in her official capacity as the
26    Director of the United States Citizenship and Immigration Service (“USCIS”); and Tracy
27    Tarango, (“Tarango”), sued in her official capacity as the Director of the California Service
28    Center of USCIS (collectively “Defendants”) oppose. (ECF No. 20 (“Opp.”). The Court



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 1    has read and considered the matters raised with respect to the motion and concluded that
 2    this matter is suitable for decision without oral argument. See Fed. R. Civ. P. 78(b); C.D.
 3    Cal. L.R. 7-15. Having considered the parties’ submissions, the relevant law, and the
 4    record in this case, the Court DISMISSES the Complaint WITHOUT PREJUDICE and
 5    DENIES Plaintiff’s Motion as moot.
 6    I.       BACKGROUND
 7             The following is alleged in Plaintiff’s Complaint, (ECF No.1), unless otherwise
 8    noted:
 9             Plaintiff Qiming Wang, who entered the United States in August 2013 on a F-1
10    student visa, is a national of the People’s Republic of China. (ECF No. 1 (“Compl.”) ¶ 92).
11    In May 2015, Plaintiff completed a master’s program in electrical and computer
12    engineering. (Id.). After the completion of his academic program, Plaintiff was eligible to
13    remain in the U.S. by participating in the Optional Practical Training Program (“OPT”), a
14    “regulatory authorized training program” that allows for foreign graduates to remain in the
15    U.S. and continue their F-1 status by being employed for up to 12 months by U.S.
16    companies. (Id. ¶¶ 39–40).
17             On August 3, 2015, Plaintiff received an offer letter from Findream, which offered
18    Plaintiff an internship in its “IT Department as [a] Software Engineer.” (Id. ¶ 93; ECF No.
19    1-2 at 98). Findream also required Plaintiff to pay a “$200 handling fee.” (Id. ¶ 94). In
20    approximately September 2015, once Plaintiff had paid the fee and accepted the offer,
21    Plaintiff began working as a Software Engineer intern at Findream. (Id. ¶¶ 93–94).
22    Plaintiff terminated his employment with Findream in early March 2016 after receiving an
23    offer for a paid position as a software engineer with Video Analytica, Inc. (Id. ¶¶ 98–99).
24             On July 9, 2016, Plaintiff’s OPT authorization expired and Video Analytica
25    sponsored an OPT authorization from July 10, 2016, to July 9, 2018. (Id. ¶ 108). On
26    February 27, 2017, Plaintiff transitioned to a software engineer position at Last Word
27    Consulting, Inc. who subsequently sponsored Plaintiff’s change of status from an F-1
28    student to H-1B status. (Id. ¶ 109). Plaintiff’s original H-1B status was valid from October



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 1    1, 2018, to August 21, 2021. (Id.). On September 5, 2019, Pluto TV Inc. (“PTVI”) offered
 2    Plaintiff a position as a senior software engineer. (Id. ¶ 110). After Plaintiff’s H-1B
 3    transfer application was approved for the period from October 7, 2019, to October 6, 2022,
 4    Plaintiff began working for PTVI on October 21, 2019. (Id. ¶ 111). Throughout his various
 5    employment, Plaintiff duly reported his employment in immigration filings, including his
 6    Findream employment. See (Id. ¶ 101). On July 18, 2022, PTVI filed Plaintiff’s H-1B
 7    visa extension application. (Id. ¶ 111).
 8          On May 18, 2023, Defendants issued a Notice of Intent to Deny (“NOID”) Plaintiff’s
 9    July 18, 2022, application for an H-1B extension based on Plaintiff’s employment history
10    with Findream (the “May 18 NOID”). (Id.). In particular, in July 2019, Findream and its
11    owner, Huang, were charged with several counts of fraud for allegedly providing false offer
12    and verification of employment letters as evidence of employment for students to use to
13    show compliance with OPT requirements. (Id. ¶ 87). In December 2019, Huang pled
14    guilty to one count of conspiracy to commit fraud in which Huang stated that “some of the
15    F-1 students she hired ‘knew’ of the fraudulent scheme.” (Id. ¶ 88). The May 18 NOID
16    asserted that Plaintiff had made willful misrepresentations in his immigration filings
17    regarding his employment with Findream, and thus Defendants deemed Plaintiff ineligible
18    for an H-1B visa extension. (Id. ¶ 112). Plaintiff “timely responded” to the May 18 NOID,
19    but Defendants never issued a decision on the H-1B extension. (Id. ¶¶ 112–13).
20          On December 5, 2023, PTVI terminated Plaintiff’s employment due to his
21    “immigration issues.” (Id. ¶ 113). On an unidentified date thereafter, Plaintiff enrolled in
22    a master’s program in Information Technology at Westcliff University in Irvine, California.
23    (Id. ¶ 114). In January 2024, Plaintiff submitted a I-539 Application to USCIS requesting
24    a change of nonimmigrant status from H-1B to F-1 student status (the “Application”). (Id.);
25    see also (id. ¶ 117; ECF No. 1-2 at 202). In Plaintiff’s Application, he filed a supplemental
26    memorandum and evidence to respond “in full” to the accusations in the May 18 NOID.
27    (Id. ¶ 115). On February 7, 2024, Defendants issued their decision that USCIS intended to
28    deny the Application (the “February 7 Denial”). (Id. ¶ 117; ECF No. 1-2 at 202–12).



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 1    Similar to the May 18 NOID, the February 7 Denial contained a finding that Plaintiff was
 2    inadmissible under 8 U.S.C. § 1182(a)(6)(C)(i) for willful misrepresentations in
 3    immigration documents regarding his employment with Findream. See (id. ¶ 117).
 4          Plaintiff commenced this action on April 18, 2024. (ECF No. 1). Plaintiff served
 5    Defendants on April 24, 2024. (ECF No. 12). The Complaint contains three counts against
 6    Defendants, which assert Defendants violated the Administrative Procedure Act (“APA”),
 7    5 U.S.C. § 706, and Plaintiff’s due process rights. See generally (Compl). On April 25,
 8    2024, Defendants informed Plaintiff, through his counsel, that Defendants were reopening
 9    Plaintiff’s Application. See (ECF No. 20 at 19, ¶ 4; ECF No. 20-1). Also on April 25,
10    2024, after Plaintiff’s counsel was informed of Defendants’ reopening of the Application,
11    Plaintiff filed the present Motion asking the Court to postpone the effectiveness of
12    Defendant’s inadmissibility finding.1 See (ECF No. 14 (“Mot.”)). Defendants timely
13    opposed. (ECF No. 20 (“Opp.”)).
14    II.   LEGAL STANDARD
15          A.     Subject Matter Jurisdiction
16          “Federal courts are courts of limited jurisdiction.” Kokkonen v. Guardian Life Ins.
17    Co. of Am., 511 U.S. 375, 377 (1994). Defendants may seek dismissal of a complaint for
18    lack of subject matter jurisdiction pursuant to Federal Rule of Civil Procedure 12(b)(1).
19    Federal courts are also “required sua sponte to examine jurisdictional issues such as
20    standing.” See B.C. v. Plumas Unified Sch. Dist., 192 F.3d 1260, 1264 (9th Cir.1999); See
21    Gonzalez v. Thaler, 565 U.S. 134, 141 (2012) (obliging courts to examine subject-matter
22    jurisdiction issues sua sponte). Attacks on jurisdiction may be “either facial or factual.”
23    White v. Lee, 227 F.3d 1214, 1242 (9th Cir. 2000). In a facial attack, like the one here, the
24    party challenging jurisdiction asserts that the “allegations contained in a complaint are
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26    1
        On April 26, 2024, Plaintiff filed another motion for a temporary restraining order, this
27    time asking the Court to enjoin Defendants from reopening Plaintiff’s Application. (ECF
28    No. 17). Because the April 26, 2024, motion purported to supplement the present Motion
      and was unsupported by a declaration, the Court struck the April 26 filing. (ECF No. 19).


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 1    insufficient on their face to invoke federal jurisdiction.” Safe Air for Everyone v. Meyer,
 2    373 F.3d 1035, 1039 (9th Cir. 2004) (“By contrast, in a factual attack, the challenger
 3    disputes the truth of the allegations that, by themselves, would otherwise invoke federal
 4    jurisdiction.”). 2 The burden of demonstrating subject matter jurisdiction rests on the party
 5    asserting jurisdiction. United States v. Orr Water Ditch Co., 600 F.3d 1152, 1157 (9th Cir.
 6    2010).
 7          Article III of the Constitution also limits federal subject matter jurisdiction to “cases
 8    and controversies,” Fed. Bureau of Investigation v. Fikre, 601 U.S. 234, 144 S. Ct. 771,
 9    777 (2024) (quoting U.S. Const. art. III. §§ 1, 2), a requirement interpreted to require that
10    “an actual controversy . . . be extant at all stages of review, not merely at the time the
11    complaint is filed.” Arizonans for Off. Eng. v. Arizona, 520 U.S. 43, 67 (1997) (quoting
12    Preiser v. Newkirk, 422 U.S. 395, 401 (1975)). “A claim is moot if it has lost its character
13    as a present, live controversy.” Kearns v. Ford Motor Co., 567 F.3d 1120, 1127 (9th Cir.
14    2009) (citation omitted). “If there is no longer a possibility that an appellant can obtain
15    relief for his claim, that claim is moot and must be dismissed for lack of jurisdiction.”
16    Ruvalcaba v. City of L.A., 167 F.3d 514, 521 (9th Cir.1999).
17          B.     Temporary Restraining Order
18          A temporary restraining order is “an extraordinary remedy that may only be awarded
19    upon a clear showing that the plaintiff is entitled to such relief.” Winter v. NRDC, Inc.,
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21    2
        Though the parties do not specify the type of jurisdictional attack here, the Court finds
22    that this is a factual attack on the Complaint because Defendants assert, based on extrinsic
23    evidence, that the agency’s reopening of its prior decision rendered moot the relief Plaintiff
      requests in the Complaint (reversal of the inadmissibility determination and setting aside
24    of the I-539 decision) and Motion (postponement of the agency’s finding of Plaintiff’s
25    inadmissibility), thereby defeating the case or controversy requirement. See (Opp. at 5);
26    Safe Air for Everyone, 373 F.3d at 1039; See CarMax Auto Superstores Cal. LLC v.
      Hernandez, 94 F. Supp. 3d 1078, 1088–89 (C.D. Cal. 2015) (noting that “a jurisdictional
27    challenge was a factual attack where it relied on extrinsic evidence and did not assert lack
28    of subject matter jurisdiction solely on the basis of the pleadings.” (internal quotation
      marks and citation omitted)).


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 1    555 U.S. 7, 22 (2008) (citing Mazurek v. Armstrong, 520 U.S. 968, 972 (1997) (per
 2    curiam)). The purpose of a temporary restraining order is to preserve the status quo before
 3    a preliminary injunction hearing may be held. Granny Goose Foods, Inc. v. Bhd. of
 4    Teamsters & Auto Truck Drivers, 415 U.S. 423, 439 (1974). The standard for issuing a
 5    temporary restraining order is essentially the same as that for issuing a preliminary
 6    injunction. See Stuhlbarg Int’l Sales Co. v. John D. Brush & Co., 240 F.3d 832, 839 n.7
 7    (9th Cir. 2001) (stating that the analysis for temporary restraining orders and preliminary
 8    injunctions is “substantially identical”).
 9           Under Winter, a plaintiff may secure a temporary restraining order only if he
10    establishes: (1) he is likely to succeed on the merits, (2) he is likely to suffer irreparable
11    harm in the absence of preliminary relief, (3) the balance of equities tips in his favor, and
12    (4) an injunction is in the public interest. Farris v. Seabrook, 677 F.3d 858, 864 (9th Cir.
13    2012) (citing Winter, 555 U.S. 7, 20 (2008)). “‘[S]erious questions going to the merits’
14    and a hardship balance that tips sharply towards the plaintiff can support issuance of a
15    preliminary injunction, so long as the plaintiff also shows that there is a likelihood of
16    irreparable injury and that the injunction is in the public interest.” Alliance for the Wild
17    Rockies v. Cottrell, 632 F.3d 1127, 1135 (9th Cir. 2011). “In each case, courts ‘must
18    balance the competing claims of injury and must consider the effect on each party of the
19    granting or withholding of the requested relief.’” Winter, 555 U.S. at 24 (citing Amoco
20    Prod. Co. v. Gambell, 480 U.S. 531, 542 (1987)). “In exercising their sound discretion,
21    courts of equity should pay particular regard for the public consequences in employing the
22    extraordinary remedy of injunction.” Id. (quoting Weinberger v. Romero–Barcelo, 456
23    U.S. 305, 312 (1982)).
24    III.   DISCUSSION
25           Plaintiff asks the Court to issue a temporary restraining order to postpone the
26    “effectiveness” of Defendants’ denial of Plaintiff’s Application and of Defendants’
27    determination that Plaintiff is inadmissible for willful misrepresentation under 8 U.S.C.
28    § 1182(a)(6)(C)(i). Defendants contend, among other arguments, that Plaintiff’s request



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 1    was mooted when Defendants reopened Plaintiff’s Application and vacated USCIS’s “prior
 2    decision [denying the Application] and concomitate finding of inadmissibility,” and that
 3    the reopening of the Application strips this Court of its jurisdiction to consider final agency
 4    action. (Opp. at 5). Because subject matter jurisdiction is a threshold determination to be
 5    made separately from and prior to the consideration of the merits of the Motion, the Court
 6    considers Defendants’ jurisdictional argument first.
 7          A.     Subject Matter Jurisdiction
 8          Defendants represent that on April 25, 2024, USCIS personnel informed counsel for
 9    Defendants that USCIS was “reopening Plaintiff’s Form I-539,” and such reopening would
10    allow Plaintiff to submit evidence in response to the findings included in the withdrawn
11    denial. (ECF No. 20 at 19, ¶ 3). 3 Defendants also attach a notice, dated April 25, 2024,
12    that USCIS has “reopened [Plaintiff’s] case, or reconsidered the decision previously issued
13    on [Plaintiff’s] case. [USCIS] will notify you in writing when we make a decision on your
14    case or if we need additional information.” (ECF No. 20-1). Defendants argue that this
15    Court does not have jurisdiction to consider Plaintiff’s APA claim without a final agency
16    action to review, and, even if it did, USCIS’s reconsideration of the inadmissibility
17    determination moots Plaintiff’s request in the TRO to postpone the effectiveness of the
18    inadmissibility.
19                 1.     Final Agency Action
20          The APA provides that “[a] person suffering legal wrong because of agency action,
21    or adversely affected or aggrieved by agency action within the meaning of a relevant
22    statute, is entitled to judicial review thereof.” 5 U.S.C. § 702. “Under the APA, agency
23    action is subject to judicial review only when it is either: (1) made reviewable by statute;
24    or (2) a ‘final’ action ‘for which there is no other adequate remedy in a court.” Cabaccang
25    v. U.S. Citizenship & Immigration Servs., 627 F.3d 1313, 1315 (9th Cir.2010) (quoting 5
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       Defense Counsel also represents that counsel for Plaintiff was informed, before filing his
28    Motion, of USCIS’s decision to reopen the case and of Defense Counsel’s view that
      Plaintiff’s request was moot. See (ECF No. 20 at 19, ¶ 4).


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 1    U.S.C. § 704)). Here, Plaintiff’s Complaint does not identify a particular statute that
 2    authorizes judicial review of the denial of the Application or the accompanying
 3    inadmissibility determination.4 See Cabaccang, 627 F.3d at 1315 (“No statute authorizes
 4    judicial review over denials of status adjustment, so the sole issue here is whether USCIS’s
 5    denial of the [the plaintiffs’] applications was a ‘final’ agency action for which there was
 6    no other adequate remedy.”). Therefore, the “sole issue” for the Court to consider is
 7    whether there is a final agency action permitting the Court’s jurisdiction. See id.
 8          Two conditions must be satisfied for agency action to be final: (1) the action must
 9    mark the “consummation of the agency’s decisionmaking process, . . . [and] not be of a
10    merely tentative or interlocutory nature,” and (2) the action must be one by which “rights
11    or obligations have been determined, or from which legal consequences will flow.”
12    Bennett v. Spear, 520 U.S. 154, 177–78 (1997) (internal quotation marks and citations
13    omitted); see also Fairbanks N. Star Borough v. U.S. Army Corp. of Eng’rs, 543 F.3d 586,
14    591 (9th Cir. 2008) (affirming the district’s courts dismissal because “finality is a
15    jurisdictional requirement to obtaining judicial review under the APA”). If one prong of
16    the finality test is not met, a court need not reach the other prong. See Bennett, 520 U.S. at
17    178. Under the first prong of the finality test, a court looks to see whether the agency ‘has
18    rendered its last word on the matter.” Oregon Nat. Desert Ass’n v. U.S. Forest Serv., 465
19    F.3d 977, 984 (9th Cir. 2006) (quoting Whitman v. Am. Trucking Ass’n, 531 U.S. 457, 478
20    (2001)). Under the second prong, the Ninth Circuit has held “[t]he general rule is that
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         Plaintiff alleges that the Court has jurisdiction to consider the inadmissibility
23    determination because “neither the APA nor the Illegal Immigration Reform and
      Immigrant Responsibility Act of 1996 [ ] prevents the Court from reviewing non-
24    discretionary actions by Defendants.” (Compl. ¶ 24 (quoting 5 U.S.C. § 701(a)(2)). To
25    the extent Plaintiff is asserting that the cited statutes, including 8 U.S.C. § 1252 (which
26    governs judicial review over orders of removal, not alleged here), “authorized” judicial
      review here, the Court disagrees. See generally Cabaccang, 627 F.3d at 1315 (“No statute
27    authorizes judicial review over denials of status adjustment.”). Plaintiff’s allegations do
28    not set forth a statute that authorizes review of the specific agency action here—at most,
      these allegations may go to whether the APA prevents judicial review.


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 1    administrative orders are not final and reviewable ‘unless and until they impose an
 2    obligation, deny a right, or fix some legal relationship as a consummation of the
 3    administrative process.’” Oregon Nat. Desert, 465 F.3d at 986–87 (citation omitted).
 4          Here, the Court has no jurisdiction over the Complaint because the USCIS’s prior
 5    denial of Plaintiff’s Application is not final. When an agency reopens a prior final decision,
 6    the decision is rendered “non-final and therefore not subject to review under the APA.”
 7    True Cap. Mgmt., LLC v. U.S. Dep’t of Homeland Sec., No. 13-261 JSC, 2013 WL
 8    3157904, at *4 (N.D. Cal. June 20, 2013) (finding no subject matter jurisdiction over the
 9    plaintiff’s objection that the reopening of the application was “solely for the purpose of
10    delay” and to “deprive [the plaintiffs] of the ability to obtain judicial review”); see also
11    Bhasin v. U.S. Dep’t of Homeland Sec., 413 F. App’x 983, 985 (9th Cir. 2011) (when
12    USCIS “vacated its [ ] denial” and reopens proceedings, “the denial is not a ‘final agency
13    action’ under 5 U.S.C. §704 and is not subject to judicial review under the Administrative
14    Procedure Act”). Plaintiff’s Application has been reopened and, thus, any prior decision
15    has been rendered non-final. See Net-Inspect, LLC v. U.S. Citizenship & Immigr. Servs.,
16    No. C14-1514JLR, 2015 WL 880956, at *4 (W.D. Wash. Mar. 2, 2015) (“[C]ourts in the
17    Ninth Circuit have consistently concluded that pending, reopened agency decisions are
18    non-final.” (citing cases)).
19          In stark contrast to USCIS having rendered its “last word on the matter,” the notice
20    of reopening reflects that USCIS has yet to make a final decision on Plaintiff’s re-opened
21    Application. See Oregon Nat. Desert, 465 F.3d at 984; see also (ECF No. 20-1). To
22    illustrate the point further, if the Court were to consider Plaintiff’s claims now, despite
23    USCIS’s April 25 Notice, the agency and the Court would be “simultaneously considering
24    the same issues and the agency’s prior determination could change at any time wholly
25    undermining the purposes of the finality doctrine.” True Cap. Mgmt., 2013 WL 3157904,
26    at *3 (citing Acura of Bellevue v. Reich, 90 F.3d 1403, 1409 (9th Cir. 1996) (“Allowing
27    judicial review in the middle of the agency review process unjustifiably interferes with the
28    agency’s right to consider and possibly change its position during its administrative



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 1    proceedings.”)). To the extent Plaintiff believes that Defendants reopened his proceedings
 2    only to deprive Plaintiff of the ability to seek judicial review, the Court notes that Plaintiff
 3    will have an opportunity to seek review once the agency decision is final.
 4          Accordingly, the Court dismisses Plaintiff’s Complaint without prejudice.5 Further,
 5    because the Court has no jurisdiction to consider the merits of Plaintiff’s claims, the Court
 6    also denies Plaintiff’s Motion for a TRO as moot.
 7    IV.   CONCLUSION
 8          For the foregoing reasons, the Court DISMISSES Plaintiff’s Complaint
 9    WITHOUT PREJUDICE to filing a new complaint when the agency decision is final and
10    DENIES Plaintiff’s Motion.
11
12          IT IS SO ORDERED.
13
14    DATED: April 30, 2024
15                                                        HON. SHERILYN PEACE GARNETT
16                                                        UNITED STATES DISTRICT JUDGE

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       The Court need not reach the remainder of Defendants’ arguments in opposition to the
28    Motion.



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